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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                               4:15CR3041
      vs.
                                                                 ORDER
MUSA J. HARRIS,
                    Defendants.


       Defendant moves the court for an order permitting him to continue living with his
employer, rather than in a halfway house as previously ordered by the court, (Filing No.
85-5), because Defendant believes his current living situation “will be a healthier
environment for him than the halfway house.” The government opposes the motion.

       Defendant was initially released to a Residential Reentry Center in California, but
he was removed from that facility due to alleged misconduct. After appearing before the
Callifornia federal court on a Petition for violating the terms of pretrial release,
Defendant was allowed to live with his employer (with daily calls to his pretrial services
officer) as a temporary means for allowing Defendant to remain on release while
awaiting readmission to a halfway house.

        Defendant wants this temporary solution to become long-term. Having again
reviewed Defendant’s pretrial services report, the court is not convinced his current and
less-structured living arrangement is heathier for him. More importantly, the court’s
decision on Defendant’s Motion to Modify is governed by the Bail Reform Act, and
applying the factors relevant under that Act, the court finds a halfway house, where
Defendant is monitored and held accountable, is the appropriate location for ameliorating
the risk of harm to the public and risk of flight occassioned by Defendant’s release.
Accordingly,

      IT IS ORDERED that Defendant’s motion to modify, (Filing No. 88), is denied.

      Dated this 8th day of December, 2016
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
